                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 11-2005
 vs.                                    ORDER REGARDING
                                   MAGISTRATE’S REPORT AND
 CAESAREO COSS-FELIX,                   RECOMMENDATION
                                    CONCERNING DEFENDANT’S
         Defendant.                        GUILTY PLEA
                      ____________________

                      I. INTRODUCTION AND BACKGROUND
       On January 25, 2011, a five-count Indictment was returned against the defendant
Caesareo Coss-Felix and others. On July 17, 2013, the defendant appeared before United
States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the
Indictment. On July 17, 2013, Judge Scoles filed a Report and Recommendation in which
he recommended that the defendant’s guilty plea be accepted. That same date, the parties
filed a Waiver of Objections to the Report and Recommendation. The court, therefore,
undertakes the necessary review of Judge Scoles’s recommendation to accept the
defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and


   Case 6:11-cr-02005-CJW-MAR          Document 460      Filed 07/18/13    Page 1 of 2
prisoner petitions, where objections are made, as follows:
              The district judge must determine de novo any part of the
              magistrate judge’s disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court accepts Judge Scoles’s Report and Recommendation of July
17, 2013, and accepts the defendant’s plea of guilty in this case to Count 1 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 18th day of July, 2013.




                                            2

   Case 6:11-cr-02005-CJW-MAR         Document 460      Filed 07/18/13    Page 2 of 2
